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                          COURTROOM DECORUM

                            JUDGE WANGER



     The purpose of these guidelines is to state, for the

guidance of counsel, applicable basic rules concerning courtroom

decorum.    The requirements stated are minimal, not all-inclusive,

and are intended to supplement, not supplant or limit, the

ethical obligations of counsel under the Code of Professional

Responsibility or the time honored customs of experienced trial

counsel.

     When appearing in this Court, all counsel (including where

the context applies, all persons at counsel table) shall abide by

the following:

     1.     Stand at the lectern while examining any witness;

except that counsel may approach the Courtroom Deputy Clerk’s

(CRD) desk or the witness for the purposes of handing or

tendering exhibits, if permission is granted by the Court.

     2.     Stand at or in the vicinity of the lectern while making

opening statements or closing arguments, except to refer to

exhibits.    Do not crowd the jury.

     3.     Address all remarks to the Court, not to opposing

counsel.

     4.     Avoid disparaging personal remarks or acrimony toward

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opposing counsel and/or parties.        Remain detached from any ill-

feeling between the litigants or witnesses.

     5.    Do not address jurors by name.

     6.    Do not approach the jury box.      Anything the jury needs

will be handled by the CRD.

     7.    Refer to all persons, including witnesses, other

counsel, and the parties by their surnames and not by their first

or given names or nicknames.

     8.    Only one attorney for each party shall examine each

witness on direct or cross-examination.       Only the attorney who

examines a witness shall state objections to questions by other

counsel to that witness.

     9.    Only one attorney for each party shall present oral

argument on motions, an opening statement, or closing argument.

     10.   Different motions, the opening statement, or closing

argument may be divided among counsel if a party has more than

one trial counsel, if different subjects are addressed by

counsel, and permission is first obtained.

     11.   Counsel should request permission before approaching

the bench or a witness.

     12.   Any documents or exhibits counsel wish to have the

Court examine should be handed to the Courtroom Deputy Clerk.

     13.   Any paper exhibit not previously marked for

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identification should first be handed to the CRD to be marked

before it is tendered to a witness for examination or placed on a

viewing screen.

     14.   Any exhibit offered in evidence should, at the time of

such offer, be handed to opposing counsel, unless pre-marked and

a copy is in the possession of opposing counsel.

     15.   Exhibits should be moved into evidence after the

foundation is laid at the time the exhibit is first used with a

witness.   Do not wait until the close of the evidence to move for

the admission of exhibits.

     16.   No speaking objections.      In making objections, counsel

should state only the legal grounds for the objection and should

withhold further comment or argument, unless elaboration is

requested by the Court at sidebar.

     17.   In examining a witness, counsel shall not repeat,

comment on, or exhibit approval or disapproval of the answer

given by the witness.

     18.   Offers of, or requests for, a stipulation should be

made to opposing counsel, out of the hearing of the jury.

     19.   In opening statements and closing arguments to the

jury, counsel shall not express counsel’s own personal knowledge

or personal opinion concerning any matter in dispute.

     20.   Counsel shall not, in the presence of the jury, refer

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to any matter not in evidence.

     21.   Counsel shall admonish all persons at counsel table and

parties and persons under direction and/or control of counsel,

such as witnesses and any party present in the courtroom, that

gestures, facial expressions, laughing, snickering, audible

comments, or other manifestations of approval, disapproval or

disrespect during the testimony of witnesses are prohibited.

     22.   Counsel shall not, in the jury’s presence, refer to any

matter, witness, exhibit, or testimony that has been excluded by

an order granting a motion in limine, or to which an objection

was sustained, and/or motion to strike has been granted.




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